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                            UN ITED STATE S D ISTR IC T CO UR T
                            SOUTHERN DISTRICT OF FLO RIDA
                                    M IA M I D IVISIO N

                                 CaseN o.:1:16-CV -24403-PCH

  A AR AM BH SH A H ,
        Plaintiff,                                                    C L O SE D
                                                                       C IV IL
  NEW PENN FINANCIAL,LLC D/B/A                                          C A SE
  SHELLPO W T M ORTGA G E SERV ICW G ,
       D efendant.

                                              /

                    FIN A L O R DER O F DISM ISSA L W ITH PR EJU DIC E

         TH IS CA U SE cnm e before the courtupon the Parties'JointStipulation ofD ism issalw ith
  Prejudice(Ctstipulation''(D.E.12j),tiled onJanuary27,2017.TheCourthascarefullyreviewed
  said Stipulation,theentirecourtfileand isotherwise f'
                                                      ully advised in the prem ises.

         A ccordingly,itis O R D ER ED A N D A D JU D G ED as follow s:
         1.TheStipulation ID.E.121isherebyapproved,adopted,andratifiedbytheCourt;
         2.Thisaction is DISM ISSED W ITH PR EJUD IC E,w ith each party to beartheirown
         costs and fees;
         3.Thiscase shallrem ain CLO SE D .
         4.A sthe partieshave expressly conditioned the effectiveness ofthe stipulation on the
         Court'sentry ofanorderretainingjurisdiction,theCourtwillretainjurisdictionsolely
         forthe purpose ofenforcing the settlem entagreem ent.
         DONE AND ORDERED in chambersin M iam i,Floridathis30th day ofJanuary,2017.
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                                                                           e' M M
                                                     PaulC.Huck
                                                     United States D istrictJudge

  Copiesfurnished to:
        CounselofRecord
